Case 1:25-mj-00041-AEM Document14 Filed 07/09/25 Page1of1PagelD #: 41

AQ 442 (Rev. 11/11} Arrest Warrant

UNITED STATES DISTRICT COURT

for the
District of Rhode Island

United States of America
Vv. )
) Case No. _1:25-mj-41-AEM

RECEIVED

By Dianna Prete at 10:49 am, Jul 08, 2025

CARL D. MONTAGUE

Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) CARL D. MONTAGUE :
who is accused of an offense or violation based on the following document filed with the court:

O Indictment © Superseding Indictment © Information © Superseding Information w Complaint
O Probation Violation Petition © Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. §§ 871 - Threats Against the President
18 U.S.C. §§ 875(c) - Interstate Threats
18 U.S.C. §§ 115(a)(1)(B) - Threaten to assault, kidnap, or murder, a United States official, a United

States judge, a Federal law enforcement officer fi
MHA Hh |

47
Date: 7/; >/ HAS Se cas
ff Issuing officer's signature

Prerdbes Rx
City and state: ACS. HE es JS... be John J. McConnell, U.S. District Judge

Printed name and title

XN

Return

This warrant was received on (date) 1) / 9/24 , and the person was arrested on (date) __]. q | 5
at (city and state) Prev dence Kl toe
7

pate: 7/4/26 ( fle Vb

Arresting officer's signature

Ku le Olehwk -FB)

Printed name mi title

